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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE




      IN RE CHANBOND, LLC,
      PATENT LITIGATION                                          C.A. No. 15-842-RGA
                                                                  CONSOLIDATED
      THIS DOCUMENT RELATES TO:
      ChanBond, LLC v. Cox Communications,
      Inc., C.A. No. 15-849(RGA)




                                     JOINT STATUS REPORT

          Pursuant to the Court’s Order dated October 13, 2020 (D.I. 527), Plaintiff ChanBond, LLC

 and Defendant Cox Communications, Inc. (collectively, the “Parties”) jointly submit this Status

 Report. Trial is currently scheduled to start in the above-captioned matter on May 17, 2021.

 Pursuant to the October 13 Order, the Parties have identified herein pending motions to be

 addressed before the start of trial. The parties’ respective positions regarding what else remains

 to be done, and the feasibility of trial on May 17, 2021, are provided below. The parties

 respectfully request that the Court set a status conference at the Court’s earliest convenience.

 I.       Witness Availability Issues:

          ChanBond does not anticipate any witness availability issues for trial.

          Cox anticipates that at least two of its witnesses, Mr. Bernstein and Mr. White, will be

 unavailable to testify in person due to the ongoing health crisis.

 II.      Identification of Pending Motions to be Resolved Before Trial

          The following motions have been fully briefed and are pending before the Court:

          1) ChanBond’s Motions in Limine Nos. 1-3 (D.I. 515—517);



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        2) Cox’s Motions in Limine Nos. 1-3 (D.I. 501-3—501-5);

        3) ChanBond’s Motion for Admissibility of the Deposition Testimony of Anthony

             Wechselberger (D.I. 508)

        4) Cox’s Motion to Reopen Discovery (D.I. 524); and

        5) ChanBond’s Motion for Leave to File a Sur-Reply in Opposition to Cox’s Motion to

             Reopen Discovery (D.I. 545).

 III.   Feasibility of May 17, 2021 Trial

        The parties disagree as to whether an in-person trial is feasible starting May 17, 2021.

 Their respective positions are set forth below.

        A.      ChanBond’s Position Regarding the Feasibility of Trial on May 17, 2021

                1.       COVID-19 Health and Safety Concerns

        ChanBond prefers to go forward with a live, in-person jury trial beginning on May 17,

 2021. This case has been pending since September 21, 2015. This case was previously scheduled

 for trial on August 18, 2020. The pre-trial hearing was conducted on July 2, 2020. This case was

 consolidated for pre-trial purposes with twelve other cases and is the only case currently scheduled

 for trial. A further postponement of the trial in this action will necessarily delay resolution of the

 twelve other actions.

        Consistent with the Court’s Jury Trial Restart Guidelines, ChanBond believes that an in-

 person jury trial can be conducted safely at this time. This case has been pending since September

 21, 2015. The case was actively litigated from that date. The parties have completed fact and

 expert discovery, and the case is ready for trial.1 Having waited over five years, ChanBond is

 ready to have a jury decide its claims. Accordingly, ChanBond’s witnesses, attorneys, staff, and


 1
  ChanBond has requested Cox to update certain damages documents so that ChanBond can
 provide its final damages calculations.
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 client representatives are prepared to go forward with a live, in-person jury trial beginning on May

 17, 2021.

        ChanBond understands that the COVID-19 pandemic is not formally over and the safety

 of jurors, the Court and its staff, the witnesses, and all trial participants including counsel is

 paramount.    However, conditions have been improving, more and more people are being

 vaccinated every day and vaccinations have been available for those at risk for quite some time.

 Cox has identified two fact witnesses who are not available for live testimony. With respect to

 both witnesses ChanBond would be happy to accommodate any additional, reasonable safety

 protocols that Cox may suggest. For example, ChanBond is willing to allow Cox’s witnesses to

 appear remotely or by deposition if necessary. ChanBond is also amenable to working with the

 Court and Cox to find other ways to ensure the safety of the participants at trial. In contrast, Cox

 does not appear amenable to any procedure that does not result in a second delay of trial.

        Lastly, if the Court concludes that an in-person jury trial cannot be conducted safely at this

 time, ChanBond respectfully requests that any delay be short and that trial be rescheduled for as

 soon as practicable once it is safe to do so. If the Court is inclined to delay the trial, ChanBond

 requests that the case be reset for July 2021, or as soon thereafter as the Court’s schedule will

 permit. To alleviate the harm that a second delay of trial, ChanBond further requests that the Court

 set a second trial for Defendant, Comcast Corporation, in the fall of 2021.

                2.      Cox’s Outstanding Motion to Reopen Discovery

        The pandemic is not the only reason Cox alleges trial cannot go forward in May. Cox also

 urges that the case cannot go to trial because issues of standing and theoretical potential licenses,

 first addressed in the motion to reopen discovery (D.I. 524), have not been resolved. That

 argument is baseless. Cox does not now nor has it ever had a standing or license defense. Indeed,

 through multiple rounds of briefing and supplemental filings, Cox has continually propounded
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 new theories, none of which is grounded in the undisputed language of the agreements at issue or

 in the law.

         With respect to standing, to date, Cox has not put forth a logical argument concerning why

 standing did not exist at the time the Complaint was filed nor has Cox articulated why standing

 does not exist today. Cox’s failure is telling. Cox has every agreement related to ownership of

 the Patents-in-Suit. Based on those agreements, there is no standing issue and there never was a

 standing issue. Cox speculates that it needs additional depositions, yet deposition cannot create a

 standing issue that is not evidenced by the agreements concerning the ownership of the Patents-

 in-Suit.2

         Similarly, Cox claims that trial must be delayed while it hunts for a non-existent license.

 Cox claims that its supplier, Technicolor, may be licensed to practice the Patents-in-Suit. Yet,

 Technicolor, Cox’s supplier, has not asserted that it is licensed, there is no evidence that

 Technicolor is licensed and Ms. Leane did not have the authority to grant a license to Technicolor

 during her employment at Technicolor. As it stands, Cox would rather repeat Ms. Leane’s

 allegations of attorney misconduct than inform the Court of the truth: Cox has no basis to assert

 that Technicolor has a license to the Patents-in-Suit.

         At bottom, as evidenced by Defendants’ decision to reargue its motion to reopen discovery

 as part of this Joint Status Report, the supposed standing and licensing issues appear nothing more

 than pretext for Cox to repeat Ms. Leane’s unsupported allegations of attorney misconduct in hopes



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   Cox states below that Ms. Leane had the authority to “independently license the patents.” Yet,
 that argument was first raised in Cox’s March 9, 2021 notice of supplemental authority in
 support of its Motion to Reopen Fact Discovery (D.I. 551) and is directly and unambiguously
 contradicted by the agreement itself. D.I. 552 at 1-2. Indeed, Ms. Leane has never claimed to
 have a right to license the patents on her own behalf. Instead, she claimed she had veto authority
 over ChanBond’s licensing rights. D.I. 541 at 6-9. That argument has been rejected as
 inconsistent with the plain language of the agreement itself. Id.
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 that sullying ChanBond’s counsel will win it favor with the Court. ChanBond understands Cox’s

 desire to avoid trial. However, Cox’s attempt to take advantage of Ms. Leane’s false statements

 is reflective of the length it is willing to go to avoid trial and nothing else.

         B.      Cox’s Position Regarding the Feasibility of Trial on May 17, 2021:

         Cox believes that proceeding to trial on May 17th will result in substantial prejudice to Cox

 and the other defendants if the issues regarding standing, potential licenses, and

 discovery/litigation misconduct are not first resolved. As discussed below, ChanBond’s counsel

 flatly advised his client to conceal documents to gain a litigation advantage. At a minimum,

 ChanBond must remedy the injury caused by its discovery misconduct, and Cox (and the other

 defendants) should be afforded an opportunity to pursue appropriate discovery to mount defenses

 emanating from the documents that ChanBond improperly withheld. In addition, the ongoing

 health crisis warrants a further continuance, as the feasibility of a jury trial by mid-May seems

 unlikely given the current state of vaccine deployment and continuing travel advisories. A

 continuance will allow the discovery issues to be addressed while the pandemic is brought to a

 stable state.

                 1.      Defendants’ Motion Raises Issues of Standing, Potential Licenses, and
                         Litigation Misconduct That Should be Resolved Before Trial

         As the Court is aware, in September 2020, Deidre Leane, the former owner of ChanBond,

 filed multiple lawsuits seeking, among other things: (i) disqualification and removal of

 ChanBond’s counsel on the basis of malpractice and litigation misconduct, (ii) to reclaim

 ownership of ChanBond, and (iii) restitution of her separate 22% stake in these litigations.

 Importantly, Ms. Leane’s pleadings in these parallel litigations revealed that prior to Ms. Leane’s

 deposition ChanBond purposely withheld from production a key agreement (ASA) for the purpose

 of concealing it from Defendants, and that subsequent to her deposition, ChanBond manufactured


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 a false “termination agreement” to hide Ms. Leane’s role as ChanBond’s worldwide intellectual

 property licensing agent, her 22% stake in these cases, and the significance of the withheld ASA.

 As Ms. Leane explains in her complaints, ChanBond’s attorneys told her that they withheld

 documents and manufactured the “termination agreement” to avoid “problems for the ChanBond

 Litigations, including additional discovery and severe trial delays,” and to prevent “harm to

 ChanBond’s chances of recovery.” D.I. 536, Ex. P ¶¶ 48-58; see id., Ex. Q ¶¶ 39-53. ChanBond’s

 perceived risk, and reason for hiding and manufacturing evidence, may have been that the ASA

 created a standing problem for ChanBond. Indeed, the agreement itself not only establishes Ms.

 Leane as ChanBond’s worldwide licensing agent but also confers to her the authority, as

 ChanBond’s designee, to independently license the patents. Ms. Leane has alleged facts that

 indicate that the termination agreement was ineffective, including because it lacked consideration

 and was entered into for improper purposes and was procured by fraud in the inducement. She is

 currently seeking a rescission of the termination agreement to reinstate her 22% stake in these

 cases, and alternatively return of sole ownership. If the ASA is found to be legally effective, it

 would implicate ChanBond’s standing as it exists today.

        Ms. Leane’s position as the head of intellectual property for Technicolor, a substantial

 manufacturer of accused equipment, while holding licensing authority for these patents may also

 create a licensing issue. In that capacity, Ms. Leane has acknowledged that she discussed this

 litigation with her employer, Technicolor, and this may have created a license or estoppel that

 precludes a material portion of the claims at issue here. Regardless of whether these concerns

 ultimately turn out to give rise to meritorious defenses to this suit or grounds for sanctioning

 Plaintiff, at a minimum, the ongoing struggle over ownership of ChanBond and the disqualification




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 of its counsel means that any proceeding with this case will be subject to potential jurisdictional

 defects and make the possibility of alternative resolution impossible.

          In view of the foregoing, on October 8, 2020, Defendants filed a motion to reopen

 discovery on the basis that ChanBond’s withholding of relevant discovery, and decision to produce

 a manufactured document created solely for this litigation to hide the existence of the actual

 agreements between Chanbond and Leane instead, has severely prejudiced Defendants’ ability to

 pursue discovery on standing, as well as license and estoppel defenses. D.I. 524, 535, 543, 548.

 For example, as the ASA was withheld, Defendants’ did not take any discovery on the scope of

 the agreement or from Technicolor that would allow it to understand whether or not it believed it

 received a license. That motion remains pending. If Defendants’ motion is granted, Defendants

 would expect to serve discovery requests on at least Technicolor and Ms. Leane, as well as on

 ChanBond, its parent Unified Online, its principal William Carter, and ChanBond’s attorneys

 Whitman and Raskin, who were engaged in the decision to withhold the ASA agreement and the

 subsequent cover up. Defendants would also request compliance with its previously-served

 requests for which ChanBond and its affiliates willfully chose to withhold documents. Because

 standing is a threshold issue, Defendants respectfully submit that their motion to re-open fact

 discovery should be fully resolved before trial begins against Cox. Separately, Ms. Leane is

 currently seeking to disqualify Plaintiff’s counsel in this case, which should also be resolved before

 trial.

                 2.     COVID-19 Health and Safety Concerns Remain High

          In addition, an in-person mid-May jury trial seems improbable given the current state of

 the health crisis. By Order dated February 5, 2021, all jury trials through April 5, 2021 have been




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 suspended in the District of Delaware.3 COVID-19 infection levels, cases, and death rate remain

 substantially higher now than when this trial was last postponed on July 5, 2020. COVID-19

 statistics today are also substantially higher than October 13, 2020, when the Court set the May

 17, 2021 trial date.4

         The Center for Disease Control still maintains a travel advisory against unnecessary travel

 due to high COVID-19 levels nationwide.5 Further, witnesses and counsel are expected to travel

 from California, Georgia, Texas, Colorado, Illinois, and New York. While Cox recognizes that

 the situation has improved from the highest infection levels in December 2020, it is unlikely that

 the risk level will be reduced enough by early May such that all those involved in the trial that

 would be required to travel to Delaware could do so safely.

         It is also highly unlikely that all trial participants will be vaccinated by May 17th. On

 March 11, the Biden administration confirmed that states will not be required to open up vaccine

 eligibility to all adults until May, and vaccines are not expected to be widely available until after

 that date. Moreover, the CDC advises that vaccine induced immunity is not reliable until 14 days

 after vaccination, which would not be until at least mid-June under the most optimistic time frame.6

 The CDC director recently issued a strong warning against reopening too soon as the infection




 3
   See https://www.ded.uscourts.gov/sites/ded/files/news/Jury%20Trial%20Suspension%20
 February%205%202021.pdf
 4
   The Court’s Jury Restart Guidelines, referenced by ChanBond, were issued on October 7, 2020
 which contemplated the allowance of jury trials. See
 https://www.ded.uscourts.gov/sites/ded/files/news/10.7.20%20JURY%20RESTART%20GUIDE
 LINES.pdf. As mentioned, jury trials are currently suspended.
 5
   https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-during-covid19.html (stating
 “Cases are Extremely High. Avoid Travel” and recommending that “you do not travel at this
 time” and to “[d]elay travel and stay home to protect yourself and others from COVID-19.”
 (emphasis in original).
 6
   https://www.cnn.com/2021/02/16/health/us-coronavirus-tuesday/index.html.
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 levels have increased and new, more contagious variants of the virus are at risk of proliferating.7

 And on March 12, Chief Justice Seitz of the Delaware Supreme Court issued a statement indicating

 that should the downward trend in COVID-19 cases continue and as vaccines become more widely

 available, the Delaware state courts anticipate moving to Phase 3 in June.8 Thus, in Cox’s view,

 given the estimated timeframe for widespread availability of the COVID vaccine, and the required

 loosening of travel and similar restrictions in place in Delaware and across the country, it seems

 unlikely that a jury trial can be safely conducted on May 17, 2021.

         The risks, and potential difficulties, are further increased in this case because witnesses and

 counsel are attending from more than a half-dozen states. As a result of the continuing health

 crisis, at least two witnesses, Mr. Bernstein and Mr. White, are not comfortable traveling to

 Delaware until the pandemic is more under control, and have requested to participate by

 videoconference to avoid travel. Cox––located in Atlanta, Georgia––has been following health

 precautions since the start of the pandemic, and has not yet asked employees to return to the office

 or travel.

         Cox respectfully submits that a continuance will not prejudice any party. This is not a

 competitor litigation. While Cox appreciates that ChanBond remains eager to try its case, as a

 non-practicing entity that seeks only monetary damages for the asserted patents, ChanBond will

 suffer no prejudice by an additional short continuance. See ActiveVideo Networks, Inc. v. Verizon

 Communs., Inc., 694 F.3d 1312, 1339–41 (Fed. Cir. 2012). The Court’s February 5, 2021 Order

 Suspending Jury Trials, provides discretion to hold jury trials in “event of an emergency or other

 truly urgent situation.” A patent trial between non-competitors, in which a non-practicing entity



 7
    https://abcnews.go.com/Politics/hear-cdc-director-urges-states-reopen-cases-
 plateau/story?id=76185108
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   https://courts.delaware.gov/forms/download.aspx?id=125948
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 is seeking only monetary damages, cannot be deemed “an event of an emergency or other truly

 urgent situation.”

         ChanBond seeks significant damages and neither side should be advantaged, or

 disadvantaged, by foreseeable impacts upon the jury’s composition or ability to perform its task,

 or witnesses’ location, age, or underlying health issues. These factors can have a disproportionate

 impact on fairness of a trial in the current environment. A continuance can serve to remedy that.

 Accordingly, Cox respectfully requests that the Court continue the trial presently scheduled for

 May 17 to at a time when vaccines should be widely accessible and with enough time for them to

 provide effective immunity, and provide sufficient time to complete the additional discovery Cox

 has requested.

         Further, given the uncertainty of the current environment and lack of prejudice to

 ChanBond, Defendant respectfully request that the Court defer scheduling subsequent trials until

 after the Cox trial is resolved. Cox is not authorized to discuss which of the other defendants

 would be an appropriate next trial.

 V.      Other Miscellaneous Issues:

         1.       While reviewing the pre-trial order (D.I. 500), Cox noticed that a Cox witness,

 David Ririe, had been inadvertently omitted from Cox’s list due to a clerical error. Mr. Ririe

 appears on ChanBond’s witness list in the Pretrial Order, and Mr. Ririe was deposed by ChanBond

 during discovery. Cox identified this issue to ChanBond, and ChanBond does not object to adding

 Mr. Ririe to Cox’s witness list.

         2.       ChanBond and Cox intend to exchange narrowed exhibit lists, pursuant to the

 Court’s prior guidance, and intend to supplement the Pretrial Order to include these narrowed

 exhibit lists.



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 Dated: March 17, 2021                           Respectfully Submitted,

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